             Case 4:21-cv-05089-SMJ                  ECF No. 13          filed 10/27/21     PageID.47 Page 1 of 1
AO 450 (Rev. 11/11) Judgment in a Civil Action


                                         UNITED STATES DISTRICT COURT                                            FILED IN THE
                                                                                                             U.S. DISTRICT COURT
                                                                  for thH_                             EASTERN DISTRICT OF WASHINGTON

                                                     Eastern District of Washington
                                                                                                        Oct 27, 2021
                                                                                                              SEAN F. MCAVOY, CLERK

                        NOEL GARCIA,                                 )
                             Plaintiff                               )
                                v.                                   )       Civil Action No. 4:21-cv-05089-SMJ
                                                                     )
                                                                     )
                 STATE OF WASHINGTON,
                            Defendant
                                             JUDGMENT IN A CIVIL ACTION
The court has ordered that (check one):

u the plaintiff (name)                                                                                        recover from the
defendant (name)                                                                                                 the amount of
                                                                            dollars ($              ), which includes prejudgment
interest at the rate of                   %, plus post judgment interest at the rate of            % per annum, along with costs.

u the plaintiff recover nothing, the action be dismissed on the merits, and the defendant (name)
                                 recover costs from the plaintiff (name)
                                          .

✔ other: DISMISSED WITHOUT PREJUDICE for lack of personal jurisdiction.
u




This action was (check one):
u tried by a jury with Judge                                                                         presiding, and the jury has
rendered a verdict.

u tried by Judge                                                                          without a jury and the above decision
was reached.

✔
u decided by Judge               Salvador Mendoza Jr.




Date: October 27, 2021                                                      CLERK OF COURT

                                                                            SEAN F. McAVOY

                                                                            s/ Sara Gore
                                                                                           %\ Deputy Clerk

                                                                             Sara Gore
